Case 19-51363-sms       Doc 26   Filed 05/03/19 Entered 05/03/19 11:03:29        Desc Main
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                      IN THE UNITED STATES BANKRUPTCY COURT
                                                                          2019 MAY -3 AM 10: 1414
                           NORTHERN DISTRICT OF GEROGIA

                                    ATLANTA DIVISION



 RE:    RicheIle Bolton                                 Chapter 7

               Debtor                                   Case No. g-




                     MOTION TO DEFER ENTRY OF DISCHARGE



        Debtor, RicheIle Bolton, moves the Courts, Pursuant to the Federal Rules of

 Bankruptcy Procedure Rule 4004(c)(2) to defer entry of an order granting discharge for

 30 days in order for the Debtor can continue to evaluate along with creditor pending

 reaffirmation agreement and other lawful purposes that will be submitted to this court.


       WHEREFORE, Debtor in the above action case prays that the Court defer entry

 of an order granting discharge for 30 days and grant Debtor such other and further relief

 as the Court deems equitable.




                                                               Thanks,




                                                               RicheIle Bolton
Case 19-51363-sms            Doc 26     Filed 05/03/19 Entered 05/03/19 11:03:29             Desc Main
                                        Document     Page 2 of 2



                          IN THE UNITED STATES BANKRUPTCY COURT

                                NORTHERN DISTRICT OF GEROGIA

                                          ATLANTA DIVISION




 RE:       RicheIle Bolton                )                      Chapter 7

                    Debtor                )                      Case No. I

                                          )
                                          )



                             MOTION TO DEFER ENTRY OF DISCHARGE


                                          CERTIFICATE OF SERVICE




 I , the undersigned, hereby certify under penalty of perjury that I am, at all times hereinafter
 mentioned, was more than 18-years of age, and that on the 3 rd day of MAY, 2019, I serviced a copy of
 MOTION TO DEFER ENTRY OF DISCHARGE

 , which was filed in this bankruptcy matter on or after the 3RD day MAY,2019 a copy was mailed in the
 United States Mail, to all interested parties listed below.




 United States Bankruptcy Office

 Trustee

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